                        Case 1:05-cr-10239-PBS Document 452 Filed 10/27/09 Page 1 of 10

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 '<::l.AO 245B(05-MA)      (Rev. 06/05) Judgment in a Criminal Case
                            Sheet I-D. Massachusetts - 10105



                                          UNITED STATES DISTRICT COURT
                                                            District of Massachusetts

            UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                              V.
                                                                           Case Number: 1: 05 CR 10239                      - 011 - EFH
                  RONNIE CHRISTIAN                                         USM Number: 25731-038
                                                                            Roger Cox, Esq.
                                                                           Defendant's Attorney
                                                                                                                    D Additional documents attached
 o
 THE DEFENDANT:
IZl pleaded guilty to count(s)      _1s                                                                                                              _
o    pleaded nolo contendere to count(s)
     which was accepted by the court.
o    was found guilty on count(s)
     after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:                                              Additional Counts - See continuation page   0
 Title & Section                   Nature of Offense                                                           Offense End ed            Count
21 USC § 846                 Conspiracy to Distribute Cocaine Base and Cocaine                                   08/30105        1s




        The defendant is sentenced as provided in pages 2 through                 10      of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
o    The defendant has been found not guilty on count(s)
o    Count(s)                                              0 is 0 are dismissed on the motion of the United States.
          It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by thisjud&ment are fully paid. If ordered to pay restitution,
 the defenaant must notifY the court and United States attorney of material changes in economic circumstances.




                                                                             The Honorable Edward F. Hamngton
                                                                             Senior Judge, U.S. District Court
                                                                           Name and Title of Judge

                                                                                       / tfJ- c:<7- c:Jp
                                                                           Date
                   Case 1:05-cr-10239-PBS Document 452 Filed 10/27/09 Page 2 of 10


~AO 245B(05-MA)      (Rev. 06/05) Judgment in a Criminal Case
                     Sheet 2 - D. Massachusetts - 10105


                                                                                                      Judgment - Page _-=2~ of   10
DEFENDANT:
CASE NUMBER: 1: 05 CR 10239                      - 011 - EFH

                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:                   month(s)
                      120




  [l] The court makes the following recommendations to the Bureau of Prisons:
  The court makes the judicial recommendation that the defendant participate in the Bureau of Prisons'
  SOD-Hour Residential Drug Abuse Program.

  [l] The defendant is remanded to the custody of the United States Marshal.
  D The defendant shall surrender to the United States Marshal for this district:
     D at                                   0 a.m.       0 p.m.         on

     D as notified by the United States Marshal.
  D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     D before 2 p.m. on
     D as notified by the United States Marshal.
     D as notified by the Probation or Pretrial Services Office.
                                                                   RETURN
I have executed this ju dgment as fo Ilows:




       Defendant delivered on                                                             to

a:.-                                                 , with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL
                    Case 1:05-cr-10239-PBS Document 452 Filed 10/27/09 Page 3 of 10


~AO 245B(05-MA)       (Rev. 06/05) Judgment in a Criminal Case
                     Sheet 3 - D. Massachusens· 10/05


                                                                                                   Judgment-Page              3     of        10
DEFENDANT:
CASE NUMBER: 1: 05 CR 10239                        - 011 - EFH
                                                         SUPERVISED RELEASE                                             D   See continuation page

Upon release from imprisonment, the defendant shall be on supervised release for a term of:                 72 month(s)


     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, not to exceed 104 tests per year, as directed by the probation officer.
D The    above drug testing condition is suspended, based on the court's determ ination that the defendant poses a low risk of
    future substance abuse. (Check, if applicable.)
IZl The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
IZl The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
O The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
  student, as directed by the probation officer. (Check, ifapplicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
   1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
  10)   the defendant shall perm it a probation officer to visit him or her at any time at home or elsewhere and shall perm it confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permISSIOn of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
        record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant s compliance with such notification requirement.
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~AO 245B(05-MA)    (Rev. 06/05) Judgment in a Criminal Case
                   Sheet 4A - Continuation Page - Supervised Release/Probation -10/05

                                                                                                                     10 _
                                                                                        Judgment-Page -..L- of _...;.;;._
DEFENDANT:
CASE NUMBER: 1: 05 CR 10239                       - 011 - EFH

                        ADDITIONAL[ZJ SUPERVISED RELEASED PROBATION TERMS

      "Special conditions of supervised release are:
      1. Defendant shall comply with the standard conditions that have been adopted by the Court
      which are described at U.S.S.G. § 5D1.3(c) and will be set forth in detail on the judgment.
      2. Defendant shall not commit another federal, state or local crime, and shall not illegally
      possess a controlled substance.
      3. Defendant shall refrain from any unlawful use of a controlled substance. The defendant
      shall submit to one drug test within 15 days of release from imprisonment and at least two
      periodic drug tests thereafter, not to exceed 104 tests per year, as directed by the Probation
      Office.
      4. Defendant shall submit to the collection of a DNA sample as directed by the Probation
      Office.
      5. Defendant is prohibited from possessing a firearm, destructive device or other dangerous
      weapon.




                        Continuation of Conditions of [Z] Supervised Release D Probation

       6. Defendant is to participate in a program for substance abuse treatment as directed by the
       Probation Office, which program may include testing, not to exceed 104 drug tests per year, to
       determine whether the defendant has reverted to the use of alcohol or drugs. The defendant shall be
       required to contribute to the costs of services for such treatment based on the ability to payor
       availability of third party payment.
                      Case 1:05-cr-10239-PBS Document 452 Filed 10/27/09 Page 5 of 10

~AO 245B(05-MA)       (Rev. 06/05) Judgment in a Criminal Case
                      Sheet 5 - D. Massachusetts - 10/05

                                                                                                             Judgment -              Page       _     of     10
DEFENDANT:
CASE NUMBER: 1: 05 CR 10239                        - 011 - EFH
                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                                                                                 Restitution
TOTALS            $                $100.00                               $                                              $



o   The determination of restitution is deferred until _ _ _. An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must be paid
    before the United States is paId.

Name of Payee                                 Total Loss·                            Restitution Ordered                                    Priority or Percentage




                                                                                                                                               D See Continuation
                                                                                                                                                    Page
TOTALS                              $                            $0.00           $                   ....;:;$..::.,;O.:.;;.OO~




D Restitution amount ordered pursuant to plea agreement $
o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date ofthejudgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     o    the interest requirement is waived for the         o      fine     0   restitution.
     D the interest requirement for the D fine D restitution is modified as follows:

• Findings for the total amount of losses are required under Chapters 109A, 110, II OA, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                   Case 1:05-cr-10239-PBS Document 452 Filed 10/27/09 Page 6 of 10

~AO 245B(05-MA)      (Rev. 06/05) Judgment In a Criminal Case
                     Sheet 6 - D. Massachusetts - 10/05

                                                                                                     Judgment -    Page         6   0 f _--.,;1..;;,,0__
DEFENDANT:
CASE NUMBER: 1: 05 CR 10239                         - 011 - EFH

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    ~ Lump sum payment of$ _$_1_0_0._0_0                       _ due immediately, balance due

          D     not later than                                        , or
           o in accordance            o     C,    0 D,             o    E, or     0 F below; or
B o       Payment to begin immediately (may be combined with                    0 C,   o D, or 0 F below); or
c o       Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D o       Payment in equal                (e.g., weekly, monthly, quarterly) installments of $
         _ _ _ _ _ (e.g., months or years), to commence
                                                                                                                   over a period of
                                                                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E D Payment   during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
    imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F D Special instructi ons regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made througn the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D   Joint and Several
                                                                                                                               o     See Continuation
                                                                                                                                     Page
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




 D   The defendant shall pay the cost of prosecution.

 DThe defendant shall pay the following court cost(s):

 DThe defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                    Case 1:05-cr-10239-PBS Document 452 Filed 10/27/09 Page 7 of 10

AO 245B   (Rev 06/05) Criminal Judgment
          Attachment (Page I) - Statement of Reasons - D. Massachusetts - 10/05

                                                                                                                            Judgment ­       Page     7 of        10
DEFENDANT:
CASE NUMBER:           1: 05 CR 10239                  - 011 - EFH
DISTRICT:               MASSACHUSETTS
                                                            STATEMENT OF REASONS

      COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

      A   ~       The court adopts the presentence investigation report without change.

      BOThe court adopts the presentence investigation report with the following changes.
                  (Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report, if applicable.)
                  (Use Section VIII if necessary.)

                  o Chapter Two orthe U.S.S.G. Manual determinations by court (including changes to base offense level, or
                       specific offense characteristics):



          2       0    Chapter Three orthe U.S.S.G. Manual determinations by court (including changes to victim-related adjustments,
                       role in the offense, obstruction of justice, multiple counts, or acceptance of responsibilIty):



          3       0    Chapter Four orthe U,S.S.G. Manual determinations by court (including changes to criminal history category or
                       scores, career offender, or criminal livelihood determinations):



          4       0    Additional Comments or Findings (including comments or factual findings concerning certain information in the
                       presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
                       or programming decisions):



      C 0         The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COURT FINDING ON MAN DATORY MINIMUM SENTENCE (Check all that apply,)

      A   ~       No count of conviction carries a mandatory minimum sentence.

      8   0       Mandatory minimum sentence imposed

      C 0         One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
                  sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum
                  does not apply based on

                  o findings of fact in this case
                  o substantial assistance (18 U.S.c. § 3553(e))
                  o the statutory safety valve (18 U.S.c. §   3553(1))




III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

      Total Offense Level:         34
      Criminal History Category: IV
      Imprisonment Range:      262        to 327        months
      Supervised Release Range: 6               to life        years
      Fine Range: $ 17.500            to $ 8,000.000
      IJJ Fine waived or below the guideline range because of inability to pay.
                          Case 1:05-cr-10239-PBS Document 452 Filed 10/27/09 Page 8 of 10

AO 245B (05-MA) (Rev. 06/05) Criminal Judgment
                Attachment (Page 2) - Statement of Reasons - D. Massachusetts - 10/05

                                                                                                                               Judgment -      Page       8   of      10
DEFENDANT:
CASE NUMBER: 1: 05 CR 10239 - 011 - EFH
DISTRICT:     MASSACHUSETTS
                                                               STATEMENT OF REASONS
IV    ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)

      A D                The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart.

      B D                The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                         (Use Section VIII if necessary.)



      C      ill         The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                         (Also complete Section V.)

      D      D           The court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VI )


V      DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (If applicable.)

      A      The sentence imposed departs (Check only one.):
             ~ below the advisory guideline range
             D above the advisory guideline range
      B      Departure based on (Check all that apply.):

                              Plea Agreement (Check all that apply and check reason(s) below.):
                              ~    SK 1.1 plea agreement based on the defendant's substantial assistance
                              D SK3.1 plea agreement based on Early Disposition or "Fast-track" Program
                              D binding plea agreement for departure accepted by the court
                              D plea agreement for departure, which the court finds to be reasonable
                              D plea agreement that states that the government will not oppose a defense departure motion.
             2                 Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                              D     SK 1.1 government motion based on the defendant's subs tantial assistance
                              D    SK3.1 government motion based on Early Disposition or "Fast-track" program
                              D    government motion for departure
                              D    defense motion for departure to which the government did not object
                              D    defense motion for departure to which the government objected

             3                Other
                              D Other than a plea agreement or motion by the parties for departure (Check reason(s) below.):
       C         Reason(s) for Departure (Check all that apply other than SK 1.1 or SK3.1.)

D    4Al.3         Criminal History Inadequacy                D     5K2.1    Death                                   D     5K2.11   Lesser Harm
D    5Hl1          Age                                        D     5K2.2    Physical Injury                         D     5K2.12   Coercion and Duress
D    5HI.2         Education and Vocational Skills            D     5K2.3    Extreme Psychological Injury            D     5K2.13   Diminished Capacity
D    5HI.3         Mental and Emotional Condition             D     5K24     Abduction or Unlawful Restraint         D     5K2.14   Public Welfare
D    5HI4          Physical Condition                         D     5K25     Property Damage or Loss                 D     5K2.16   Voluntary Disclosure of Offense
D    5HU           Employment Record                          D     5K2.6    Weapon or Dangerous Weapon              D     5K2.17   High-Capacity, Semiautomatic Weapon
D    5HI.6         Family Ties and Responsibilities           D    5K2.7     DisruptIOn of Government Function       D     5K218    Violent Street Gang
D    5HIII         MIlitary Record, Charitable Service,       D    5K2.8     Extreme Conduct                         D     5K2.20   Aberrant Behavior
                   Good Works                                 D    5K2.9     Crimi nal Purpose                       D     5K221    Dismissed and Uncharged Conduct
D    5K2.0         Aggravating or Mitigating Circumstances    D    5K2.10 Vlctim's Conduct                           D     5K2.22   Age or Health of Sex Offenders
                                                                                                                     D     5K2.23   Discharged Terms of Imprisonment
                                                                                                                     D     Other guideline basIs (e.g.. 2BI.\ commentary)

       D         Explain the facts justifying the departure. (Use Section VIII if necessary.)
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AO 2458 (05-MA) (Rev 06105) Criminal Judgment
                Attachment (Page 3) - Statement of Reasons - D. Massachusetts 10105

                                                                                                                            Judgment -        Page    9 of         10
DEFENDANT:
CASE NUMBER: 1: 05 CR 10239 - 011 - EFH
DISTRICT:     MASSACHUSETTS
                                                           STATEMENT OF REASONS
VI    COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
      (Check all that apply.)

      A     The sentence imposed is (Check only one.):
             o below the advisory guideline range
             o above the advisory guideline range
      B      Sentence imposed pursuant to (Check all that apply.):
                         Plea Agreement (Check all that apply and check reason(s) below.):
                         o      binding plea agreement for a sentence outside the advisory guideline system accepted by the court
                         o      plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                         o      plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
                                system

             2           Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                         o government motion for a sentence outside of the advisory guideline system
                         o defense motion for a sentence outside of the advisory guideline system to which the government did not object
                         o defense motion for a sentence outside of the advisory guidel ine system to which the government objected
             3           Other
                         o Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reason(s) below):
      C      Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

             o the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to Usc. § 3553(a)( I)
                                                                                                                             18
             o to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense USc. § 3553(a)(2)(A»
                                                                                                                                        (18
             o to afford adequate deterrence to criminal conduct US.c. § 3553(a)(2)(B»
                                                                   (18
             o to protect the public from further crimes of the defendant USc. § 3553(a)(2)(C»
                                                                           (18
             o to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
                 (18US.c. § 3553(a)(2)(D»
             o to avoid unwarranted sentencing disparities among defendants U.S.c. § 3553(a)(6»
                                                                                 (18
             o to provide restitution to any victims of the offense USc. § 3553(a)(7»
                                                                    (18



       D     Explain the facts justifying a sentence outside the advisory guideline system. (UseSection VIII if necessary.)
                          Case 1:05-cr-10239-PBS Document 452 Filed 10/27/09 Page 10 of 10
• AO 24'5B'( OS-MAl (Rev. 06/05) Criminal Judgment
                    Attachment (Page 4) - Statement of Reasons - D. Massachusetts - 10/05

                                                                                                                                Judgment -       Page     10 of          10
  DEFENDANT:
  CASE NUMBER: 1: 05 CR 10239 - 011 - EFH
  DISTRICT:     MASSACHUSETTS

                                                               STATEMENT OF REASONS

 VII     COURT DETERMINATlONS OF RESTITUTION

         A     .Jt]   Restitution Not Applicable.

         B     Total Amount of Restitution:

        C      Restitution not ordered (Check only one.):

                      o For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because the number of
                           identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3XA).

               2      0    For offenses for which restitution is otherwise maridatoryunder 18 U.S.C. § 3663A, restitution is not ordered because determining complex
                           issues offact and relating them to the cause or amount of the victims' losses would complicate or prolong the sentencing process to a degree
                           that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).

               3      0    For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing guidel ines, restitution is not
                           ordered because the complication and prolongation of the sentencing process resulting from the fashioning ofa restitution order outweigh
                           the need to provide restitution to any victims under 18 U.S.C. § 3663(a)(1 )(B)(ii).

               4      0    Restitution is not ordered for other reasons. (Explain.)




        D      0      Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c»:




 VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)




                       Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.

 Defendant's Soc. Sec. No.:          XXX-XX-XXXX

 Defendant's Date of Birth:          00/00/1969

 Defendant's Residence Address: in federal custody                                                        Signature 0 Judge
                                                                                                      'be Honorable Edward F. Harrington
 Defendant's M ailing Address:                                                                            Name ~nd Titl!'! of .TncIPlY A _            -7/7'_~ 0
                                          in federal custody
                                                                                                          Date Stgned            /    V              ~  / .  /
